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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

HISCOX INSURANCE COMPANY, INC.
Plaintiff

V.                                                 DOCKET NO. 18-cv-10222

CURTIS BORDENAVE and BUSINESS
MOVES CONSULTING, INC., d/bla
BUSINESS MOVES, KHALED M.
KHALED and ATK ENTERTAINMENT, INC.
Defendants

                            CORPORATE DISCLOSURE STATEMENT

         COMES NOW, Hiscox Insurance Company, Inc., by and through its counsel ofrecord,

Cozen O'Connor, and files this its Corporate Disclosure Statement.

         ALTOHA Inc. owns 100% of Hiscox Insurance Company Inc., an Illinois domiciled

corporation.

         RESPECTFULLY SUBMITTED, this the 2nd day of November, 2018.

Dated:           New York, New York                Respectfully submitted,
                 November 2, 2018

                                                   COZEN O'CONNOR

                                            By:     Isl Laura B. Dowgin
                                                   Laura B. Dowgin
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